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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                    EL PASO DIVISION


 MARTHA PROSPERO,                                     §
                                                      §
           Plaintiff,                                 §
                                                      §
 v.                                                   §        CIV. ACTION NO. 3:30-cv-274
                                                      §
 AT&T CORP.,                                          §
                                                      §
           Defendant.                                 §        JURY TRIAL DEMANDED

                            DEFENDANT’S NOTICE OF REMOVAL

TO THE CLERK OF THE COURT:

       PLEASE TAKE NOTICE that, on this date, Defendant AT&T Corp. (“AT&T” or

“Defendant”) files this Notice of Removal pursuant to 28 U.S.C. §§ 1441 and 1446, removing this

matter from the District Court of El Paso County, Texas, to the United States District Court for the

Western District of Texas, El Paso Division. In support of its Notice of Removal, AT&T states as

follows:

                             I.      PROCEDURAL BACKGROUND

       1.         This action was commenced on September 30, 2020, by the filing of Plaintiff’s

Original Petition (the “Petition”) in the 171st Judicial District Court of El Paso County, Texas, and

assigned Cause No. 2020DCV3161 (“State Action”).

       2.         In her Petition, Plaintiff Martha Prospero (“Plaintiff”) alleges that AT&T’s conduct

during Plaintiff’s employment resulted in violations of the Americans with Disabilities Act,

42 U.S.C. § 12101, et seq. (the “ADA”) and the American with Disabilities Act Amendments Act

of 2008 (the “ADAAA”).

       3.         As set forth fully below, AT&T is timely removing the State Action to this Court

based on federal question jurisdiction.


DEFENDANT’S NOTICE OF REMOVAL                                                                   Page 1
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                       II.     FEDERAL JURISDICTION IS PROPER

       4.      Pursuant to 28 U.S.C. § 1441(a), “any civil action brought in a State court of which

the district courts of the United States have original jurisdiction, may be removed by the defendant

or the defendants, to the district court of the United States for the district and division embracing

the place where such action is pending.”

       5.      This case satisfies the requirements for federal question jurisdiction under

28 U.S.C. § 1331 because Plaintiff has asserted claims under the ADA and ADAAA.

Consequently, removal is proper pursuant to 28 U.S.C. § 1441.

       6.      Moreover, AT&T is timely filing this Notice of Removal within thirty (30) days of

service of the Petition. 28 U.S.C. § 1446(b)(1).

       7.      In accordance with the terms of 28 U.S.C. § 1446(d), AT&T will promptly serve a

copy of this Notice of Removal on counsel for Plaintiff and will file a copy with the Clerk for the

171st Civil District Court Clerk, El Paso County, Texas.

       8.      This Notice of Removal is signed pursuant to Rule 11 of the Federal Rules of Civil

Procedure.

       9.       Pursuant to 28 U.S.C. § 1446(a), a copy of all process, pleadings, and orders that

have been served on Defendant is attached hereto. (See Exhibits 1 through 6).

       10.     Removal to the U.S. District Court for the Western District of Texas, El Paso

Division, is proper because this district and division includes El Paso County where the Petition is

pending. See 28 U.S.C. § 1441(a).

       11.     The following documents are also being electronically filed with this Notice of

Removal:

       a.      Civil Cover Sheet (See Exhibit 5); and




DEFENDANT’S NOTICE OF REMOVAL                                                                  Page 2
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       b.      Supplemental Civil Cover Sheet (See Exhibit 6).

       12.     By filing this Notice of Removal, AT&T reserves its right to answer the Petition

and/or assert any claims, defenses, or other motions as permitted by the Federal Rules of Civil

Procedure.

                                         CONCLUSION

       For the foregoing reasons, Defendant AT&T Corp. respectfully requests that this Court

accept this Notice of Removal, that further proceedings in the State Court Action be discontinued

and that this suit be removed to the United States District Court for the Western District of Texas,

El Paso Division.


Dated: November 2, 2020                              Respectfully submitted,


                                                     /s/ Stacey Cho Hernandez
                                                     Courtney Barksdale Perez
                                                     Texas Bar No. 24061135
                                                     cperez@carterarnett.com
                                                     Stacey Cho Hernandez
                                                     Texas Bar No. 24063953
                                                     shernandez@carterarnett.com
                                                     Ruben Gandia
                                                     Texas Bar No. 24093472
                                                     rgandia@carterarnett.com
                                                     CARTER ARNETT PLLC
                                                     8150 N. Central Expressway
                                                     Suite 500
                                                     Dallas, Texas 75206
                                                     Tel: 214-550-8188
                                                     Fax: 214-550-8185

                                                     ATTORNEYS FOR DEFENDANT,
                                                     AT&T CORP.




DEFENDANT’S NOTICE OF REMOVAL                                                                 Page 3
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                                CERTIFICATE OF SERVICE
       I hereby certify that on November 2, 2020, a true and correct copy of this document was

served in accordance with the Texas Rules of Civil Procedure on all counsel of record.



                                                    /s/ Stacey Cho Hernandez
                                                    Stacey Cho Hernandez




DEFENDANT’S NOTICE OF REMOVAL                                                            Page 4
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 Skip to Main Content Logout My Account Search Menu New Civil Search Refine Search Back                 1           Location : All Courts Help

                                                          REGISTER OF ACTIONS
                                                             CASE NO. 2020DCV3161

Martha Prospero vs AT&T Corp.                                            §                         Case Type: Wrongful Termination
                                                                         §                         Date Filed: 09/30/2020
                                                                         §                          Location: 171st District Court
                                                                         §
                                                                         §


                                                                 PARTY INFORMATION

                                                                                                                  Lead Attorneys
Defendant       AT&T Corp.


Plaintiff       Prospero, Martha                                                                                  ENRIQUE CHAVEZ, Jr.
                                                                                                                   Retained
                                                                                                                  915-351-7772(W)


                                                            EVENTS & ORDERS OF THE COURT

             OTHER EVENTS AND HEARINGS
09/30/2020   Original Petition (OCA)      Doc ID# 1
09/30/2020   E-File Event Original Filing
10/01/2020   Request      Doc ID# 2
10/05/2020   Citation
                AT&T Corp.                                        Served                   10/09/2020
                                                                  Response Due             11/02/2020
                                                                  Returned                 10/19/2020
11/02/2020 Answer        Doc ID# 3




https://casesearch.epcounty.com/PublicAccess/CaseDetail.aspx?CaseID=8483099                                                           Page 1 of 1
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., El Paso County - 171 st District Court                                                               Filed 9/30/2020 6: 15 PM

                                                                                             2                  Norma Favela Barceleau
                                                                                                                           · District Clerk
                                                                                                                        El Paso County
                                                                                                                         2020DCV3161
                MARTHA PROSPERO,
                         Plaintiff,


                v                                                                 CAUSE NO. _ _ _ _ _ _ __


                AT&T CORP.,
                         Defendant.
                                             PLAINTIFF'S ORIGINAL PETITION AND
                                                    REQUEST FOR DISCLOSURE

                TO THE HONORABLE COURT:
                                                                                                                      I·-···....   '"' ..,_, • ....... '

                         Plaintiff MARTHA PROSPERO ("Employee Prospero"), files her Original Petition complaining

                of AT&T CORP. ("Employer AT&T") and respectfully shows as follows:

                I. DISCOVERY LEVEL

                1.   Discovery is intended to be conducted under Level 2 of Rule 190 of the Texas Rules of Civil

                     Procedure.

                II. PARTIES

                2.   Plaintiff, MARTHA PROSPERO, is an individual residing in El Paso, Texas.

                3. Defendant, AT&T CORP., is a foreign for-profit corporation whom may be served with process by

                     serving its registered agent, C T Corporation System at 1999 Bryan St., Ste. 900, Dallas, Texas

                     75201-3136.

                III. VENUE.

                4.   Pursuant to Texas Civil Practice and Remedies Code Section 15.002, venue is proper in El Paso

                     County, Texas because all or a substantial part of the events or omissions giving rise to Plaintiff's

                     claims occurred in El Paso, Texas.




                                                                  1 of 5
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Iv. CHRONOLOGY OF FACTS

5.   Employers MUST prevent disability discrimination against employees to protect employees from

     financial injuries and emotional trauma.

6.   When not an undue burden, Employers MUST provide reasonable accommodations for the known

     disabilities of employees to protect employees from financial injuries and emotional trauma.

7.   Employers MUST prevent retaliatory job terminations against employees who take disability leave to

     protect employees, like all of us, from financial injuries and emotional trauma.

8.   AT&T CORP. is an employer.

9.   Employer AT&T MUST prevent disability discrimination against employees to protect employees

     from financial iajuries and emotional trauma.

10. When not an undue burden, Employer AT&T MUST provide reasonable accommodations for the

     known disabilities of employees to protect employees from financial injuries and emotional trauma.

11. Employer AT&T MUST prevent retaliatory job terminations against employees who engage m

     protected activity to protect employees from financial injuries and emotional trauma.

12. On April 28, 1997, Employer AT&T hires an employee.

13. On or about 2003, Employer AT&T is on notice that the employee develops a tumor, a disability.

14. Since on or about 2003, Employer AT&T is aware that the employee takes periodic protected medical

     leave for ongoing treatment related to the employee's disability, the tumor.

15. Beginning September 2015, Employer AT&T's upper management harass the employee to meet

     production numbers.

16. In November 2015, Employer AT&T's Fernando Jacquez intimidates the employee by hovering over

     the employee while the employee works.

17. In November 2015, Employer AT&T's Fernando Jacquez tells the employee to "plug out and go see

     union rep", as soon as the employee is done with a call.




                                                     2 of 5
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18. In November 2015, Employer AT&T's Fernando Jacquez makes the employee undergo an emotional

   breakdown.

19. In November 2015, Employer AT&T is on notice that the employee files a grievance over Employer

   AT&T's FernandoJacquez's attitude toward the employee.

20. In November 2015, Employer AT&T rejects the grievance.

21. After November 2015, Employer AT&T is on notice that the employee takes disability leave for the

   employee's own serious health condition caused by Employer AT&T's FernandoJacquez's harassment

   of the employee.

22. lnJanuary 2016, Employer AT&T begins an evaluation period of its employees that ends on April 30,

   2016.

23. Between January 2016 and April 30, 2016, Employer AT&T is on notice that the employee takes

   protected medical leave relating to her disabilities.

24. Employer AT&T, during the employee's performance evaluation period, penalizes the employee for

   taking protected medical leave relating to her disabilities.

25. On April 30, 2016, Employer AT&T ends the evaluation period of its employees that began on

  .January 2016.

26. After the evaluation period, on May 5, 2016, throughJuly 5, 2016, Employer AT&T is on notice that

   the employee is on disability leave.

27. On the day the employee returns from disability leave, on July 6, 2016, Employer

   AT&T terminates the employee's employment.

28. Employer AT&T's supposed reason for terminating the employee's employment is for not maintaining

   high performance scores during the evaluation period, even though Employer AT&T is aware that the

   employee was on disability leave during the evaluation period.

29. The employee which Employer AT&T terminates is Martha Prospero.




                                                   3 of 5
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V. CAUSES OF ACTION:

A. Disability Discrimination, Retaliation

30. Plaintiff was discriminated, retaliated against, and fired in violation of the Americans with Disabilities

    Act (ADA), and the Americans with Disabilities Act Amendments Act (ADAAA,. which protect

    disabled employees from discrimination and retaliation.

B. Refusal to Provide a Reasonable Accommodation

31. Defendant committed unlawful acts when it repeatedly refused to provide a reasonable

    accommodation to Plaintiff's disabilities, and instead penalized Plaintiff for being disabled and for

    being on leave due to her disability.

VI. NOTICE OF RIGHT TO SUE

32. Attached as Exhibit A is the Notice of Right to Sue from the Equal Employment Opportunity

    Commission.

VII. DAMAGES

33. As a direct and proximate result of Defendant's retaliation and conduct against Plaintiff as described

    above, Plaintiff has suffered harms and losses. Plaintiff's harms and losses include in the past and the

    future: lost wages and benefits, employment opportunities, lost income; loss of earning capacity;

    mental anguish; emotional pain and suffering, inconvenience, loss of enjoyment of life, and other

    non-pecuniary losses.

VIII. JURY TRIAL DEMAND

34. Plaintiff demands a jury trial.

IX. REQUEST FOR DISCLOSURE

35. Under Texas Rule of Civil Procedure 194, Plaintiff requests that Defendant disclose, within 50 days

    of the service of this request, the information or material described in Rule 194.2.

X. ATTORNEYS' FEES AND COSTS




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36. Plaintiff is entitled to recover reasonable and necessary attorney's fees and costs under the ADA and

    theADAAA.

PRAYER

        Plaintiff prays that she recover from Defendant monetary relief over $200,000.00 but not more

than $1,000,000.00, statutory damages under the ADA and the ADAAA; general damages; special.

damages; punitive damages as determined by the jury; reinstatement; prejudgment interest as provided by

law; attorney's fees and expert fees; post-judgement interest as provided by law; court costs and all costs of

suit; and such other and further relief to which Plaintiff may be justly entitled to, in law and in equity.

Such damages sought by Plaintiff are within the jurisdictional limits of the court.

        SIGNED on this 30th day of September, 2020.




                                                  Respectfully submitted,

                                                  Chavez Law Firm
                                                  2101 N. Stanton Street
                                                  El Paso, Texas 79902
                                                  915/351-7772




                                          By:
                                                  Enrique C        vez,Jr.
                                                  enriquechavezjr@chavezlawpc.com
                                                  State Bar No.: 24001873
                                                  Attorney for Plaintiff




                                                   5 of 5
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 EEOC Form 161-B (11/16)                   U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

                                         NOTICE OF RIGHT TO SUE                (ISSUED ON REQUEST)
 To:    Marta P. Prospero                                                              From:    Chicago District Office
        c/o Enrique Chavez, Esq.                                                                230 S. Dearborn
        2101 North Stanton                                                                      Suite 1866
        El Paso, TX 79902                                                                       Chicago, IL 60604



       D          On behalf of person(s) aggrieved whose identity is
                  CONFIDENTIAL (29 CFR §1601. 7(a)) .

 EEOC Charge No.                                         EEOC Representative                                             Telephone No.

                                                         Nanisa Pereles,
 453-2016-01044                                          Enforcement Supervisor                                          (312) 872-9720
                                                                                    (See also the a.dditional information enclosed with this form.)
NOTICE TO THE PERSON AGGRIEVED: .

Title VII of the Civil Rights Act of 19~4, the Americans with Disabilities Act (ADA), or the Genetic Information Nondiscrimination
Act (GINA): This is your Notice of Right to Sue, issued under Title VII, the ADA or GINA based on the above-numbered charge. It has·
been issued at your request. Your lawsuit under Title VII, the ADA or GINA must be filed in a federal or state court WITHIN 90 DAYS
of'your receipt of this notice; or your right to sue based on this charge will be lost. (The time limit for filing suit based on a claim under
state law may be different.)

       ~].       More than 180 days have passec:I since the filing of this charge.

       o·        Less than 180 days have passed since· the filing of this charge, but I have determined that it is unlikely that the EEOC will
                 be able to complete its administrative processing within 180 days from the filing of this charge.

       m         The EEOC is terminating its processing of this charge.

       D         The EEOC will continue. to process this· charge.




Equal Pay Act (EPA): You already have the right to sue under the EPA (filing an EEOC charge is not required.) EPA suits must be brought
in federal or state court within 2 years (3 years for willful violations) of the alleged EPA underpayment. This means that backpay d!Je for
any violations that occurred more than 2 years (3 years) before you file suit may not be collectible.                              ·

If you file suit, based on this charge, please send a copy of your court complaint to this office.


                                                                         On behalf of the Commission



                                                                                                                      9/16/2020
Enclosures(s)                                                          Julianne Bowman,                                       (Date Mailed)

                                                                        District Director

cc:           AT&T
              c/o Constance Johnson
              Senior Consultant-EEO
              225 West Randolph Street
              Chicago, IL 60606
           Case 3:20-cv-00274-DCG-MAT Document 1 Filed 11/02/20 Page 12 of 22
Enclosure with EEOC
Form 161-B (11/16)
                                          INFORMATION RELATED TO FILING SUIT
                                      . UNDER THE LAWS ENFORCED BY THE EEOC

                       (This information relates to filing suit in Federal or State court under Federal law.
             If you also plan to sue claiming violations of State law, please be aware that time limits and other
                      provisions of State law '!lay be shorter or more _limited than. those described below.)

                                    Title VII of the Civil Rights Act, the Americans with Disabilities Act (ADA),
PRIVATE SUIT RIGHTS
                                    the Genetic Information Nondiscrimination Act (GINA), or the Age
                                    Discrimination in Employment Act (ADEA):

In order to pursue this matter further, you must file a lawsuit against the. respondent(s) named in the charge within
90 days of the date you receive this Notice. Therefor~, you shouid keep a record of this date. Once this 90- ·
day period is over, your right to sue based on the charge referred to in this Notice will be lost. If you intend to
consult an attorney, you should do so promptly. Give your attorney a copy of this Notice, and its envelope, and tell
him or her the date you received it. Furthermore, in order to avoid any question that you did not act in a timely
manner, it is prudent that your suit be filed within 90 days. of the date this Notice was mailed to you (as
indicated where the Notice is signed) or the date of the postmark, if later.
Your lawsuit may be filed in U.S. District Court or a State court of competent jurisdiction. (Usually, the appropriate
State court is the general civil trial court.) Whether you file in Federal or State court is a matter for you to decide
after talking to your attornew Filing this Notice is not enough. You must file a "complaint" that contains a short .
statement of the facts of your case which shows that you are entitled to relief. Courts often require that a copy of
your charge must be attached to the complaint you file in court. If so, you ·should remove your birth date from the
charge. Some courts will not accept your complaint where the charge includes a date of birth. Your suit may include
any matter alleged in the charge or, to the extent permitted by court decisions, matters like or related to the matters
alleged in the charge. Generally, suits are brought in the State where the alleged unlawful practice occurred, but in
some cases can be brought w_here relevant employment records are. kept, where the employment would haye
been, or where the respondent has its main office. If you h~ve simple questions, you usually can get answers from
the office of the clerk of the court where you are bringing suit, but do not expect that office to write your complaint
or make legal strategy deeisions for you.

PRIVATE SUIT RIGHTS                 Equal Pay Act (EPA):

EPA suits must be filed in court within 2 years (3 years forwiHful violations) of the alleged EPA underpayment: back
pay due for violations that occurred more than 2 years (3 years) before you file suit may not be collectible. For
example, if you were underpaid under the EPA for work performed from 7/1/08 to 12/1/08, you should file suit
before 7/1/10 - not 12/1/10 -- in order to recover unpaid wages due for July 2008. This time limit for filing an EPA
suit is separate from the 90~day filing period under Title VII, the ADA, GINA or the ADEA referred to above.
Therefore, if you also plan to sue under Title VII, the ADA, GINA or the ADEA, in addition to suing on the EPA
claim, suit must be filed within 90 days of this Notice and within the_2- or 3-year EPA back pay recovery period.

ATTORNEY REPRESENTATION               --   Title VII, the ADA or GINA:

If you cannot afford or have been unable to obtain ·a lawyer to represent you, the U.S. District Court having jurisdiction
in your case may, in limited circumstances, assist you in obtaining a lawyer. Requests for such assistance must be.
made to the U.S. District Court in the form and manner it requires (you should be prepared to explain in detail your
efforts to retain an attorney). Requests should be made well before the end of the 90-day period mentioned above,
because such requests do not relieve you of the requirement to bring suit within 90 days.

ATTORNEY REFERRAL ANb EEOC ASSISTANCE                      --   All Statutes:

You may contact the EEOC representative shown on your Notice if you need help in finding a lawyer or if you have any
questions about your legal rights, including advice on which .U.S. District Court can hear your case. If you need to
inspect or obtain a copy of information in EEOC's file on the charge, please req'-1est it promptly in writing and provide
your charge number (as shown on your Notice). While EEOC destroys charge files after a certain time, all charge files
are kept for at least 6 months after our last action on the case. Therefore, ifyou file suit and want to review the charge
file, please make your review request within 6 months of this Notice. (Before filing suit, any request should be
made within the next 90 days.)

                 IF YOU FILE SUIT, PLEASE SEND A COPY OF_ YOUR COURT COMPLAINT TO THIS OFFICE.
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NOTICE OF RIGHTS UNDER THE ADA AMENDMENTS ACT OF 2008 (ADAAA): The ADA was
amended, effective· January 1, 2009, to broaden the definitions of disability to make it easier for individuals to
be covered under the ADA/ADAAA. A disability is still defined as (1) a physical or mental impairment that
substantially limits one or more major life activities (actual disability); (2) a record of a substantiaily limiting
impairment; or (3) being regarded as having a disability. However, these terms are redefined, and it is easier to
be covered under the new law.         ··

If you plan to retain an attorney to assist you with your ADA claim, we recommend that you share this
information with your attorney and. suggest that he or she consult the amended regulations and
appendix,        and         other       ADA          related     publications,    available       at
http://www.eeoc.gov/laws/types/disability rcgulations.cfm.

"Actual" disability or a "record of'' a disability (note: if you are pursuing a failure to accommodate claim
you must meet the standards for either "actual" or "record of'' a disability): ·

  )>   The limitations from the impairment no longer have to be severe or significant for the impairment to.
       be considered substantially limiting.                      ·
  )>   In addition ·to activities such as performing manual tasks, walking, seeing, hearing, speaking, breathing,
       learning, thinking, concentrating, reading, bending, and communicating (more examples at 29 C.F.R. §
       1630.2(i)), "major life activities" now include the operation of major bodily functions; such as:
       functions of the immune system, speciaJ sense organs and skin; normal cell growth; and digestive,
       genitourinary,. bowel, bladder, neurological, brain, respiratory, circulatory, cardiovascular, endocrine,
       hemic, lymphatic, musculoskeletal, and reproductive functions; or the operation of an individual organ
       within a body system.
  )>   Only one major life activity need be substantially limited.                                             .
  )>   With the exception of ordinary eyeglasses or contact lenses, the beneficial effects of "mitigating
       measures" (e.g., hearing aid, prosthesis, medication, therapy, behavioral modifications) are not
       considered in determining if the impairment substantially limits a major life activity.
 )>    An impairment that is "episodic" (e.g., epilepsy, depression, multiple sclerosis) or "in remission" (e.g.,
       cancer) is a disability if it would be substantially limiting when active.            .
 )>    An impairment may be substantially limiting even though it lasts or is expected to last fewer than six
       months.

"Regarded as" coverage:
  )> An individual can meet the definition of disability .if an· employment action was taken because of an
     actual or perceived impairment (e.g., refusal to hire, demotion, placement on involuntary leave,
     termination, exclusion for failure to meet a qualification standard, harassment, or denial of any other term,
     condition, or privilege of employment).
  )> "Regarded as" coverage under the ADAAA no longer requires that an impairment be substantially
     limiting, or that the employer perceives the impairment to be substantially limiting.               .
 )> The employer has a defense against a "regarded as" claim only when the impairment at issue is objectively
     BOTH transitory (lasting or. expected to last six months or less) AND minor.
 )> A person is not able to bring a failure to accommodate cla,im if the individual is covered only under the
     "regarded as" definition of "disability."

Note: Although the amended ADA states that the definition of disability "shall be construed broadly" and
"should not demand extensive analysis," some courts require specificity in tlte complaint explaining !tow an
impairment substantially limits a major life activity or what facts indicate the challenged employment action .
was because of the impairment. Beyond the initial pleading stage, some courts will require specific evidence
to establish disability. For more information, consult the amended regulations and appendix, as well as
explanatory publications, available at http://www.eeoc.gov/laws/types/disability regulations.cfm.
                                                 CERTIFIED
                            Case 3:20-cv-00274-DCG-MAT DocumentMAIL
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       DISTRICT CLERK                                                                                                             . 00003560610CT 06 2020
COUNTY COURTHOUSE RM 103
   500 E SAN ANTONIO AVE
    EL PASO TX 79901-2436
                                                 7160 1019 9040 0431 8572

                                             \
                                               AT&T CORP.
                                         CT CORPORATION SYSTEM
                                          1999 BRYAN ST STE 900
                                             DALLAS TX 75201


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               Case 3:20-cv-00274-DCG-MAT Document 1 Filed 11/02/20 Page 15 of 22

                                              THE STATE OF TEXAS
         NOTICE TO DEFENDANT: "You have been sued. You may employ an attorney. If you, or your attorney, do not
file a written answer with the clerk who issued this citation by 10:00 a.m. on the Monday next following the expiration of
twenty days after you were served this citation and petition, a default judgment may be taken against you."

TO: AT&T CORP., which may be served with process by serving its registered agent, CT CORPORATION SYSTEM,
1999 BRYAN STREET, SUITE 900, DALLAS, TX 75201

Greetings:
        You are hereby commanded to appear by filing a written answer to the Plaintiff's Original Petition and Request
for Disclosure at or before ten o'clock A.M. of the Monday next after the expiration of twenty days after the date of
service of this citation before the Honorable 111st Judicial District Court, El Paso County, Texas, at the Court House of
said County in El Paso, Texas.
        Said Plaintiff's Original Petition was filed in said court on the 301h day of September, 2020, by Attorney at Law
ENRIQUE CHAVEZ, JR., 2101 N. STANTON ST, EL PASO, TX 79902 in this case numbered 2020DCV3161 on the
docket of said court, and styled:
                                          MARTHA PROSPERO vs. AT&T CORP.

      The nature of Plaintiff's demand is fully shown by a true and correct copy of the Plaintiff's Original Petition and
Request for Disclosure accompanying this citation and made a part hereof.

         The officer executing this writ shall promptly serve the same according to requirements of law, and the mandates
thereof, and make due return as the law directs.

        Issued and given under my hand and seal of said Court at El Paso, Texas, on this the 5th day of October, 2020.



                       CLERK OF THE COURT
                NORMA FAVELA BARCELEA
                          District Clerk
                  El Paso County Courthouse
                500 E. San Antonio Ave, RM 1
                     El Paso, Texas 79901
                           ATTACH
                      RETURN RECEIPTS
                                                                                 ICATE OF DELIVERY BY MAIL
                             WITH
                 ADDRESSEE'S SIGNATURE                              I :~~reby certify that on this the 5th day of
                                                                :
        Rule 106 (a) (2) the citation shall be served by·~ :.
                                                                    October. 2020 at 10:05 AM I mailed to:
        mailing to the defendant by Certified Mail Return
        receipt requested, a true copy of the citation.             AT&T CORP., CT CORPORATION SYSTEM,
        Sec. 17.027 Rules of Civil Practice and
                                                                    1999 BRYAN ST, STE 900, DALLAS, TX 75201
        Remedies Code if not prepared by Clerk of
        Court.                                                      Defendant(s) by registered mail or certified mail
                                                                    with delivery restricted to addressee only, return
                                                                    receipt requested, a true copy of this citation
        *NAME OF PREPARER                           TITLE
                                                                    with a copy of the Plaintiff's Original Petition
        ADDRESS                                                     and Request for iscl~ ~hereto.

        CITY                        STATE             ZIP
                                                                                                              (}JN
                  Case 3:20-cv-00274-DCG-MAT Document 1 Filed 11/02/20 Page 16 of 22

                                                    RETURN OF SERVICE


Delivery was completed on - - - - - - - - - - - - ' delivered to _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ as evidence by Domestic Return Receipt PS Form 3811 attached hereto.
        The described documents were not delivered to the named recipient. The certified mail envelope was returned
undelivered marked - - - - - - - - - - - - - -
        This forwarding address was p r o v i d e d : - - - - - - - - - - - - - - - - - - - - -



ARTICLE NO. : 7161 1019 9040 0431 8572                                    El Paso County, Texas
                                                           By: _ _ _ _ _ _ _ _ _ _ _ __
SENT TO: AT&T CORP., CT CORPORATION
SYSTEM, 1999 BRYAN STREET, SUITE 900, DALLAS,            ____ ---·- _p~p~y._!1istr-ict.C!er1$ _ _ _ _ _
TX 75201-- ·    - --   · - --    -      --- -
                                                                                  OR
POSTAGE: $0.37
FEE: $2.30                                                           Name of Authorized Person
RETURN RECEIPT FEE: $1.75
                                                              By: _ _ _ _ _ _ _ _ _ _ __
DATE SENT: 10/05/2020

SENDER'S NAME: JoAnn Acosta

THIS ENVELOPE CONTAINS: Plaintifrs Original
Petition and Request for Disclosure




                                         VERIFICATION BY AUTHORIZED PERSON

State of Texas
County of El Paso
            Before me, a notary public, on this day personally appeared                      , known to me to be the person
whose name is subscribed to the foregoing Return of Service, and being by me first duly sworn, declared, "I am
disinterested party qualified to make an oath of that fact and statements contained in the Return of Service and true and
correct."


                                                                                Subscribed and sworn to be on this _ _ day
                                                                                of _________________




                                                                                Notary Public, State of _ _ _ _ _ _ _ __
                                                                                My commission expires: _ _ _ _ _ _ _ __
                   Case
El Paso County - 171st     3:20-cv-00274-DCG-MAT
                       District Court                      Document 1 Filed 11/02/20 PageFiled
                                                                                           17 11/2/2020
                                                                                               of 22    9:12 AM
                                                                                                     Norma Favela Barceleau
                                                                                                                District Clerk
                                                                                                             El Paso County

                                                    NO. 2020-DCV-3161
                                                                                         4                   2020DCV3161


            MARTHA PROSPERO,                                     §       IN THE DISTRICT COURT
                                                                 §
                      Plaintiff,                                 §
                                                                 §
            v.                                                   §       171st JUDICIAL DISTRICT
                                                                 §
            AT&T CORP.,                                          §
                                                                 §
                      Defendant.                                 §       EL PASO COUNTY, TEXAS

                                                  ORIGINAL ANSWER

           TO THE HONORABLE BONNIE RANGEL:

                  Defendant AT&T Corp. (“Defendant”) files its Original Answer to the Plaintiff’s Original

           Petition filed by Martha Prospero (“Plaintiff”), and in support thereof respectfully shows as

           follows:

                                             I.          GENERAL DENIAL

                  Pursuant to Tex. R. Civ. P. 92, Defendant generally denies each and every allegation and

           claim Plaintiff has asserted in Plaintiff’s Original Petition and any amendments or supplements

           thereto, and demands strict proof thereof by preponderance of the evidence.

                                                  II.      JURY DEMAND

                  To the extent that Plaintiff has stated a viable cause of action, Defendant joins Plaintiff in

           her demand for a jury trial.

                                                        III.   PRAYER

                  WHEREFORE, PREMISES CONSIDERED, Defendant requests that all claims against it

           be dismissed, that Plaintiff take nothing on her claims against Defendant, and all relief requested

           by Plaintiff be denied.




           DEFENDANT’S ORIGINAL ANSWER                                                                    Page 1
     Case 3:20-cv-00274-DCG-MAT Document 1 Filed 11/02/20 Page 18 of 22




Dated: November 2, 2020                             Respectfully submitted,


                                                    /s/ Stacey Cho Hernandez
                                                    Courtney Barksdale Perez
                                                    Texas Bar No. 24061135
                                                    cperez@carterarnett.com
                                                    Stacey Cho Hernandez
                                                    Texas Bar No. 24063953
                                                    shernandez@carterarnett.com
                                                    Ruben Gandia
                                                    Texas Bar No. 24093472
                                                    rgandia@carterarnett.com
                                                    CARTER ARNETT PLLC
                                                    8150 N. Central Expressway
                                                    Suite 500
                                                    Dallas, Texas 75206
                                                    Tel: 214-550-8188
                                                    Fax: 214-550-8185

                                                    ATTORNEYS FOR DEFENDANT,
                                                    AT&T CORP.


                               CERTIFICATE OF SERVICE
       I hereby certify that on November 2, 2020, a true and correct copy of this document was
served in accordance with the Texas Rules of Civil Procedure on all counsel of record.



                                                    /s/ Stacey Cho Hernandez
                                                    Stacey Cho Hernandez




DEFENDANT’S ORIGINAL ANSWER                                                              Page 2
                         Case 3:20-cv-00274-DCG-MAT Document 1 Filed 11/02/20 Page 19 of 22
JS 44 (Rev. I 0/20)                                                        CIVIL COVER SHEET
The JS 44 civil cover sheet and the informationcontainedherein neither replace nor supplementthe filing and service of pleadingsor other papers as required by law, except as
providedby local rules of court. This form, approvedby the Judicial Conferenceof the United States in September 1974,is required for the use of the Clerk of Court for the
purpose of initiatingthe civil docket sheet. (SEE INSTRUCTIONS ON NEXT p AGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                             DEFENDANTS

          MARTHA PROSPERO                                                                                     AT&T CORP.                                                                        5
    (b) County of Residenceof First Listed Plaintiff El Paso.Texas                                            County of Residenceof First Listed Defendant Dallas Texas
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                        (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                              NOTE:     IN LAND CONDEMNATIONCASES,USE THE LOCATIONOF
                                                                                                                        THE TRACTOF LAND INVOLVED.
    (C) Attorneys (Firm Name, Address, and Telephone Number)                                                   Attorneys (If Known)
      Enrique Chavez, Jr., Chavez Law Firm, 2101 N. Stanton        Courtney Perez, Stacey Hernandez, Ruben Gandia; Carter
      Street, El Paso, Texas 79902, (915) 351-7772                 Arnett PLLC, 8150 N. Central Expwy, Suite 500, Dallas, TX
                                                                   75206 . (214) 550-8188
II. BASIS OF JURISDICTION (Place an "X" in One Box Only) III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an "X" in One Box for Plaintiff
                                                                                                          (For Diversity Cases Only)                                    and One Box/or Defendant)
DI     U.S. Government                03      Federal Question                                                                      PTF       DEF                                         PTF       DEF
         Plaintiff                              (U.S. Government Not a Party)                        Citizenof This State           D I     D        Incorporatedor PrincipalPlace        D     4   [: . l
                                                                                                                                                       of BusinessIn This State

D2     U.S. Government                D4      Diversity                                              Citizen of Another State       D2 D         2   Incorporatedand PrincipalPlace       □     s Os
         Defendant                              (Indicate Citizenship of Parties in Item III)                                                          of BusinessIn Another State

                                                                                                     Citizenor Subjectof a          D3 D         3   Foreign Nation
                                                                                                       Foreign Country
IV. NATURE OF SUIT (Place an                    "X" in One Box Only_                                                                    Click here for:
          CONTRACT                                                 ~ORTS                               FORFEITURE/PENALTY




~
    110 Insurance                      PERSONALINJURY                    PERSONALINJURY               . 625 Drug Related Seizure                                             375 False Claims Act
    120 Marine                         310 Airplane                  D 365 PersonalInjury -                 of Property21 USC 88I                                            376 Qui Tam (31 USC
    130Miller Act                      3I 5 AirplaneProduct                Product Liability            690 Other                                                                3729(a))
    140 NegotiableInstrument                Liability                D 367 Health Care/                                                                                      400 State Reapportionment
    150 Recoveryof Overpayment         320 Assault, Libel &            Pharmaceutical                                                                                        410 Antitrust
       & Enforcementof Judgment             Slander                    Personal Injury                                                      820 Copyrights                   430 Banks and Banking
D   151 MedicareAct                    330 Federal Employers'          Product Liability                                                    830 Patent                       450 Commerce
D   152 Recoveryof Defaulted                Liability                D
                                                                   368 AsbestosPersonal                                                     835 Patent - Abbreviated         460 Deportation
         StudentLoans                  340 Marine                      Injury Product                                                           New Drug Application         470 Racketeer Influencedand
        (ExcludesVeterans)             345 Marine Product              Liability                                                            840 Trademark                       Corrupt Organizations
D   153 Recoveryof Overpayment              Liability             PERSONALPROPERTY 1------:~~=-----+-1                                      880 Defend Trade Secrets         480 ConsumerCredit
       of Veteran's Benefits           350 Motor Vehicle         D 370 Other Fraud                                                              Act of2016                       (15 USC 1681 or 1692)
D   160 Stockholders'Suits             355 Motor Vehicle         D 371 Truth in Lending                                                                                      485 TelephoneConsumer
D   190 Other Contract                     ProductLiability          D
                                                                   380 Other Personal    720 Labor/Management                                                                    ProtectionAct
D   195 ContractProduct Liability      360 Other Personal              PropertyDamage        Relations                                                                       490 Cable/SatTV
D   196 Franchise                          Injury                    D
                                                                   385 PropertyDamage    740 Railway Labor Act                                                               850 Securities/Commodities/
                                       362 Personal Injury -          Product Liability  751 Family and Medical                                                                  Exchange
                                           Medical Malpractice                               Leave Act                                                                       890 Other StatutoryActions
                                                                                         790 Other Labor Litigation                                                          891 AgriculturalActs
                                       440 Other Civil Rights      Habeas Corpus:        791 EmployeeRetirement                                                              893 EnvironmentalMatters
                                       441 Voting                  463 Alien Detainee        Income SecurityAct
    230 Rent Lease & Ejectment         442 Employment              510 Motionsto Vacate                                                     870 Taxes (U.S. Plaintiff
    240 Torts to Land                  443 Housing/                    Sentence                                                                  or Defendant)
    245 Tort Product Liability            Accommodations           530 General                                                              871 IRS-Third Party              899 AdministrativeProcedure
D   290 All Other Real Property      • 445 Amer. w/Disabilities-   535 Death Penalty                                                             26 USC 7609                    Act/Reviewor Appeal of
                                          Employment               Other:                462 NaturalizationApplication                                                          Agency Decision
                                       446 Amer. w/Disabilities-   540 Mandamus& Other   465 Other Immigration                                                               950 Constitutionalityof
                                          Other                    550 Civil Rights          Actions                                                                             State Statutes
                                       448 Education               555 Prison Condition
                                                                   560 Civil Detainee -
                                                                      Conditionsof
                                                                      Confinement
V. ORIGIN         (Place an "X" in One Box Only)
D1     Original        02     Removedfrom                 D3        Remandedfrom                D4   Reinstatedor     D     5 Transferredfrom        D   6 Multidistrict          D 8 Multidistrict
       Proceeding             State Court                           AppellateCourt                   Reopened                 Another District              Litigation-                 Litigation-
                                                                                                                      (specify)                             Transfer Direct File
                                           Cite the U.S. Civil Statute under which you are filing (Donot citejurisdictionalstatutesunless diversity):
                                            mericanswith DisabilitiesAct, 42 U.S.C. § 12101,et seq. (ADA} and the Americanwith DisabilitiesAct AmendmentsAct of 2008 (ADAAA}.
VI. CAUSE OF ACTION Brief descriptionof cause:
                                           Employmentdispute over alleged violations of the ADA and ADAAA by former employer.
VII. REQUESTED IN                          □ CHECK IF nns IS A CLASS ACTION                            DEMAND$                                    CHECK YES only if demanded in complaint:
     COMPLAINT:                                UNDERRULE 23, F.R.Cv.P.                                 200,000to 1000,000                         JURY DEMAND:         EjYes     0No
VIII. RELATED CASE(S)
                                             (See instructions):
      IF ANY
DATE
    l \ / 2.. /202.0
FOR OFFICE USE ONLY

    RECEIPT#                      AMOUNT                                    APPLYING IFP                                    JUDGE                            MAG.JUDGE
            Case 3:20-cv-00274-DCG-MAT Document 1 Filed 11/02/20 Page 20 of 22

                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE WESTERN DISTRICT OF TEXAS                                       6
                                   El Paso           DIVISION

                                 Supplement to JS 44 Civil Cover Sheet
                                Cases Removed from State District Court

This form must be filed with the Clerk's Office no later than the first business day
following the filing of the Notice of Removal. Additional sheets may be used as necessary.

The attorney of record for the removing party MUST sign this form.

STATE COURT INFORMATION:

1.    Please identify the court from which the case is being removed; the case number; and the
complete style of the case.
171st District Court of El Paso, County, Texas; No. 2020-DCV-3161; Martha Prospero v. AT&T Corp.




2.     Was jury demand made in State Court?                      Yes            No

If yes, by which party and on what date?

Martha Prospero                                           9/30/2020
Party Name                                                Date


STATE COURT INFORMATION:

1.     List all plaintiffs, defendants, and intervenors still remaining in the case. Also, please list the
attorney(s) of record for each party named and include the attorney's firm name, correct mailing address,
telephone number, and fax number (including area codes).
Plaintiff Martha Prospero, Enrique Chavez, Jr., Chavez Law Firm, 2101 N. Stanton Street, El Paso, Texas
79902, T: (915) 351-7772, F: (915) 351-7773

Defendant AT&T Corp., Stacey Cho Hernandez, Carter Arnett PLLC, 8150 N. Central Expwy, Suite 500,
Dallas, Texas 75206, T: (214) 550-8188, F: (214) 550-8185
2. List all parties that have not been served at the time of the removal, and the reason(s) for non-service.
None




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            Case 3:20-cv-00274-DCG-MAT Document 1 Filed 11/02/20 Page 21 of 22

3.   List all parties that have been non-suited, dismissed, or terminated, and the reason(s) for their
removal from the case.
None




COUNTERCLAIMS, CROSS-CLAIMS, and/or THIRD-PARTY CLAIMS:

1.      List separately each counterclaim, cross-claim, or third-party claim still remaining in the case and
designate the nature of each such claim. For each counterclaim, cross-claim, or third-party claim, include
all plaintiffs, defendants, and intervenors still remaining in the case. Also, please list the attorney(s) of
record for each party named and include the attorney's firm name, correct mailing address, telephone
number, and fax number (including area codes).
None




VERIFICATION:



Attorney for Removing Party                               Date


Defendant AT&T Corp.
Party/Parties




(NOTE: Additional comment space is available on page 3)

                                                                           Reset all fields   Print Form




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           Case 3:20-cv-00274-DCG-MAT Document 1 Filed 11/02/20 Page 22 of 22

ADDITIONAL COMMENTS (As necessary):




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